J. FRED STAEBLER, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Staebler v. CommissionerDocket No. 28520.United States Board of Tax Appeals17 B.T.A. 1086; 1929 BTA LEXIS 2193; October 25, 1929, Promulgated *2193  The petitioner made an agreement by which he disposed of a portion of his share of the net profits of a partnership of which he was a member.  Held, such agreement did not operate to exclude from his income any part of the petitioner's share of the partnership profits.  F. E. Ross, C.P.A., for the petitioner.  Bruce A. Low, Esq., for the respondent.  MARQUETTE *1086  This is a proceeding for the redetermination of a deficiency in income taxes asserted by the respondent for the fiscal year ending January 31, 1924, amounting to $1,368.75.  The error assigned is that the respondent refused to allow the petitioner and his wife to make separate returns of income received from the petitioner's business.  FINDINGS OF FACT.  The petitioner resided in Ann Arbor, Mich., during the taxable period.  He and his brother, as partners, owned and conducted a business under the name of the Staebler Oil Co., located in Ann Arbor.  Each partner contributed $5,000 as capital when the business was first started in 1919.  In January, 1923, the petitioner gave to his wife an equal share in his portion of the net profits of the Staebler Oil Co., said profits*2194  to be determined after deducting from income the salaries of the petitioner and his brother.  The petitioner's wife thereafter was credited on the books of the Staebler Oil Co. with her share of the net profits, monthly, and her drawings were charged against such account.  She did not contribute any capital nor any services to the company.  The petitioner and his wife filed separate income-tax returns, each reporting as income the amount credited to such taxpayer on the books of the Staebler Oil Co.  The respondent has determined that the amount credited to the petitioner's wife, and reported by her, was taxable income to the petitioner.  OPINION.  MARQUETTE: The petitioner contends that he and his wife should be permitted to make separate income-tax returns as to the profits received by them from the Staebler Oil Co.  The respondent has asserted that all of such profits are taxable to the petitioner alone, No other issue is presented by the record.  *1087  The petitioner proceeds under section 218(a) of the Revenue Act of 1921, which provides: SEC. 218. (a) That individuals carrying on business in partnership shall be liable for income tax only in their individual capacity. *2195  There shall be included in computing the net income of each partner his distributive share, whether distributed or not, of the net income of the partnership for the taxable year, or, if his net income for such taxable year is computed upon the basis of a period different from that upon the basis of which the net income of the partnership is computed, then his distributive share of the net income of the partnership for any accounting period of the partnership ending within the fiscal or calendar year upon the basis of which the partner's net income is computed.  It was stated by counsel that the petitioner, when he gave to his wife an equal share of his net profits, intended to make her a partner in the business.  However, under the law of Michigan as interpreted by the courts of that State, a wife may not become a partner with her husband. ; . The petitioner now concedes this, but he contends that a joint adventure was formed, and that for income-tax purposes it is to be treated in like manner as a partnership.  In support of his contention, reliance is placed upon *2196 , wherein this Board held that although the intermarriage of a man and woman who were at the time business partners might work a dissolution of that partnership, still the wife was not thereby deprived of her separate income derived from the share of capital and services which she had contributed to the business.  But that is a very different situation from the one now before us.  Here, the petitioner's wife has made no contribution to the business either of capital or services.  The essential facts in the Sunlin case are so widely variant from those now before us that that decision can not be considered an authority for us in the present proceeding.  In our opinion, the decision of this Board in , is controlling in the present instance.  There, Mitchel made a written agreement with his wife, which provided, among other things, that "The party of the second part [the wife] shall be entitled to one-half of the profits which shall come to the party of the first part [Mitchel] from the firm." In the proceeding now before us "the petitioner gave his wife an equal share in his portion*2197  of the net profits of the Staebler Oil Company." The petitioner's wife was credited, monthly, on the books of the company with the share of the profits so given her.  In the Mitchel case, settlements between Mitchel and his wife were made annually; but the frequency or infrequency of the settlement periods can not affect nor overcome the fact that in each case the profits first accrued to the taxpayer as income, and only after such accrual did the wife receive the agreed share.  As was said in the Mitchel case: *1088  Clearly, under the statute, the income derived by the partnership must be returned for taxation as the income of the respective partners in accordance with their distributive shares and can not be diverted to become the income of someone else by agreement or otherwise.  No one is permitted to make his own tax law and if it were permitted to modify the express provisions of the taxing statute by agreement any taxpayer could say what should or should not be income.  To merely state the proposition is to expose its fallacy * * *.  The income from taxpayer's interest in the partnership is first income to him, and no matter how he tries to dispose of it*2198  or does dispose of it, it is taxable to him as income from his interest therein.  It does not alter the situation to say that as soon as income arises in the partnership at that instant it becomes the property of the grantee, as this is mere assertion.  The fact is that before it becomes the property of the grantee, it is income, within the meaning of the law, to the grantor, and the statute recognizes this fact when it requires the income of the partnership to be included as the income of the partners in their individual returns according to their respective shares therein.  The fallacy of the contention arises from the failure to take account of the fact that the taxpayer is contracting to dispose of something which must first be his before it becomes the property of anyone else.  * * * When Congress provides that a person in a certain status shall be subject to taxation in a particular manner, we do not believe that person can, at one and the same time, retain such status and by agreement relieve himself from the effect of the act.  We hold, therefore, that the petitioner's entire distributive share of the net profits of the Staebler Oil Co. constituted income to him during*2199  the taxable period, which should be included in computing the amount of his income tax, and the determination of the respondent is approved.  Judgment will be entered for the respondent.